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 1                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
 2

 3    UNITED STATES OF AMERICA,
                                                       Case No. 2:22-cr-00231-ART-NJK
 4                           Plaintiff,
                                                       ORDER OF DISMISSAL OF THE
 5
                  vs.                                  INDICTMENT WITHOUT PREJUDICE
 6
      MARVIN ANTONIO CORONADO-
      RODRIGUEZ,
 7
                            Defendant.
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 9
            Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and upon leave of
10
     Court, the United States Attorney for the District of Nevada hereby dismisses without prejudice
11
     the charges brought against defendant Marvin Antonio Coronado-Rodriguez contained in the
12   Indictment in case number 2:22-cr-00231-ART-NJK.

13          Leave of Court is granted for the filing of the foregoing dismissal of the charges brought
     against defendant Marvin Antonio Coronado-Rodriguez contained in the Indictment in case
14
     number 2:22-cr-00231-ART-NJK.
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     DATED this 3rd day of February, 2023.
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                                                       HONORABLE ANNE R. TRAUM
21                                                     UNITED STATES DISTRICT JUDGE

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